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                  EXHIBIT B-113
      Case 1:23-cv-03721-SCJ Document 1-124 Filed 08/21/23 Page 2 of 13-~----
                                                                                        FILEDINOFFICE

                    IN THE SUPERIOR COURT• OF FULTON COUNTY
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                                      STATE OF GEORGIA


INRE: ·                                        )
SPECIAL PURPOSE GRAND JURY                     )       2022-EX~000024
                                               )
Witnes{                                        )       Judge Robert C. I. McBurney
Stephen Cliffgard Lee                          )


      PETITION FOR CERTIFICATION OF NEED FOR TESTIMONY BEFORE
     SPECIAL PURPOSE GRAND JURY PURSUANT TO THE UNIFORM ACT TO
    SECURE THE ATTENDANCE OF WITNESSES FROM WITHOUT THE STATE,
      ~ODIFIED IN THE STATE OF GEORGIA AS O.C.G.A. § 24-13-90 ET SEO.
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       :COMESNOW the State of Georgia, by and through Fani T. Willis, District ~ttomey,

.Atlanta Judicial Circuit, Fulton County, Georgia, and petitions this Honorable Court for a

Certificate of Need for Testimony Before Special Purpose Grand Jury, pursuant to O.C.G.A. §

24-13-92
       . et seq., arid in support thereof says as .follows:


       \1. A Special Purpose Grand Jury investigation·commenced in Fulton County, Georgia,

            by order of this court on May 2, 2022. See _OrderImpaneling ~pecial Purpose Grand

            Jury Pursuant to O.C.G.A. § 15-12-100, Et Seq, "Exhibit A". The Special Purpose

            Grand Jury is authoriz~d to investigate any and all facts and circumstances relating

            directly or indirectly to possible attempts to disrupt the lawful administration of the

            2020 elections in the State of Georgia. See Letter Requesting Special Purpose Grand
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            Jury, "Exhibit B".
       ;,

       Q. • While Georgia law authorizes sped.al purpose grand juries to conduct both civil and
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         _- criminal investigations, the Special Purpose Grand Jury's inve~tig:tion is criminal in•-
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            nature in that it was requested for the purpose of investigating !criminal disruptions

            related to the 2020 elections in Georgia, and the Special P~se         Grand Jury is
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    authorized to make recommendations concerning criminal prosecution. Further, the
                                                                   i
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    authority for a special purpose grand jury to conduct a criminal investigation has been

    upheld by the Supreme Court of Georgia. See State v. Lampl, 296 Ga. 892 (2015).

    Accordingly, the provisions of the Uniform Act to Secure the Attendance of

    Witnesses from Without the State apply pursuant to O.C.G.A. § 24-13-92 et seq.

 3. Stephen Cliffgard Lee, born October 25, 1952, (hereinafter, "the Witness") is a

    necessary and material witness to the Special Purpose Grand Jury's investigation.

    Through both its investigation and through publicly available information, the State

    has learned the following information.

 4. On or about December 21, 2021, Willie Lewis Floyd III, also known as Harrison

    William Prescott Floyd III, a former director of Black Voices for Trump, stated to

    Reuters that he was asked by a man described as a chaplain with federal law

    enforcement connections, to arrange a meeting with Ruby Freeman, a Fulton County

    election worker who had been publicly accused of committing election fraud by

    individuals known to be associated with the Trump Campaign. According to Floyd,

    the purpose of the meeting was to discuss a purported "immunity deal" with Freeman.

    Floyd then arranged for Trevian Kutti, a purported publicist based in Chicago,

    Illinois, to meet with Freeman.

 5. On January 4, 2021, Kutti stated to Freeman via telephone that "an armed squad of

    federal" officers would "approach" Freeman and her family within 48 hours and that

    Kutti had access to "very high-profile people that can make Particular things happen

    ... in order to defend yourself and your family." Kutti and Freeman then met at a

    Cobb County Police Department precinct, where Kutti made similar statements,
                                                                   I
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     indicating to Freeman that her "freedom ... and the freedom oi one or more of your

     family members" would be disrupted if Freeman declined her assistance and that

     Freeman was "a loose end for a party that needs to tidy up." Kutti also stated her

     intent to connect Freeman with Floyd, referring to him as "a Black progressive crisis

     manager, very high level, with authoritative powers to get you protection that you

     need." After making these statements, Kutti made a lengthy telephone call to Floyd

     on speakerphone so that he could join the conversation with Freeman. During the

     course of the telephone conversation, in the presence of Floyd, Freeman was

     pressured to reveal information under the threat of incarceration if she did not

     comply. All of these statements were captured on police body worn camera footage

     reviewed by the District Attorney.

 6. Based on information received by the District Attorney through collateral interviews,

     the Witness was identified as the person responsible for asking Floyd to.arrange the

     meeting with Freeman in order to facilitate these conversations.

 'J. The District Attorney has reviewed documents obtained by the Special Purpose

     Grand Jury that demonstrate that the Witness personally spoke to both Floyd and

     Kutti multiple times via telephone between January 4, 2021, and January 5, 2021.

     This information corroborates the information received through collateral interviews

     identifying the Witess as the person responsible for asking Floyd to arrange the

     meeting with Freeman.
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 8. The District Attorney has also reviewed police body worn camera footage from

     December 15, 2020, which shows that the Witness personally bame to Freeman's
                                                                     !
     home in Cobb County, Georgia, which frightened her and cau~ed her to call 911
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    approximately three times for police assistance. In the footage,1the Witness admitted

    that he knocked on the door of Freeman's home in order to provide "pro bono

    service" to her, then left for a short period of time, and returned sometime later which

    prompted Freeman to call 911.

 9. The Witness, based on the information set forth above, is a necessary and material

    witness. The Witness possesses unique knowledge concerning communications

    between himself and other known and unknown individuals involved in the multi-

    state, coordinated efforts to influence the results of the November 2020 election in

    Georgia and elsewhere. Finally, the Witness's anticipated testimony is essential in

    that it is likely to reveal additional sources of information regarding the subject of this

    investigation.

 10. The testimony of the Witness will not be cumulative of any other evidence in this

    matter.

 } 1. The Witness resides outside the jurisdiction of this Honorable Court and is therefore

    unable to be served with process to compel attendance and testimony.

 12. The Witness currently resides in Yorkville, Kendall County, Illinois.

 13. The Witness will be required to be in attendance and testify before the Special

    Purpose Grand Jury on Thursday, November 10, 2022, at 9:00 a.m. The District

    Attorney reasonably anticipates that the Witness's testimony will not exceed one day.

 14. The Office of the Fulton County District Attorney, in and for the State of Georgia,
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    will pay all reasonable and necessary travel expenses and witn~ss fees required to

    secure the Witness's attendance and testimony, in accordance ~ith the Uniform Act
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    to Secure the Attendance of Witnesses from Without a State in Criminal Proceedings.
                                                                     II
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    See O.C.G.A. §24-13-90 et seq.

 15. If the Witness comes into the State of Georgia pursuant to this :request, directing the

    Witness to attend and testify before the Special Purpose Grand_Jury, the laws ofthis

    State shall give the Witness protection from arrest and from service of civil or

    criminal process, both within this State a:ndin any other state through which the

    Witness may be required to pass in the ordinary course of travel, for any matters

    which arose before the Witness's entrance into this State and other states.

 16. Both Georgia and Illinois have adopted the Uniform Act to Secure the Attendance of

    Witnesses from Without a State in Criminal Proceedings. See O.C.G.A. § 24-13-90;

    725 ILCS 220/1 et seq.
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       WHEREFORE,the State of Georgia, by and through Fani T. ,illis, District Attorney,

Atlanta Judicial Circuit, Fulton County, Georgia, prays that this Hohorable Court issue a

Certificate of Need for Testimony Before Special Purpose Grand Jury, pur~uant
                                                                        ,
                                                                              to O.C.G.A. § 24-       '




13-92 et seq., certifying to the proper authorities in the jurisdiction in which the Witness is located

that the Witness is a necessary and material witness whose attendance and testimony is required

for the above-referenced Special Purpose Grand Jury investigation, and the presence of the

Witness,will be needed for the number of days specified above,

       ~espectfully submitted this the 7th day of October, 2022,

                                                       FANI T. WILLIS
                                                       DISTRICT ATTORNEY
                                                       ATLANTA JUDICIAL CIRCUIT




                                                       Atlanta Judicial Circuit
                                                       136 Pryor Street Southwest
                                                       Third Floor           •
                                                       Atlanta, Georgia 30303
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                    Exhibit A
   Case 1:23-cv-03721-SCJ Document 1-124 Filed 08/21/23 Page 9 of 13




rN RE: REQUEST FOR
       SPECIAL PUruPOSE
       GRA.NDJURY

              OJRDERAPPROVING :!REQUESTFOR SPECIAL PURPOSE
              GRAND JURY PURSUANTTO O.C.G.A. &15-12-100,et seo.

       The District Attorney for the AtlantaJudicialCircuitsubmitted to the judges of the

SuperiorComt of Fulton County a request to impanela specialpurposejury for the purposesset

forth in that request. This request was consideredand approvedby a majority of the total

numb~rof the judges of this Court, as required by O.C.G.A.§15-12-IO0(b).

       IT [S THEREFOREORDEREDthat a specialpurposegrandjury be drawn and

impaneledto serve as provided in O.C.G.A.§ 15-12-62.1,15-12-67,and 15-:12-100,to

commenceon May 2, 2022, and continuingfor a periodnot to exceed 12 months. Suchperiod

shall not include any time periods when the supe1visingjudge determines that the special

purpose grandjury cannot meet for safety or other reasons,or any time periods when normal

court operations are suspendedby order of the SupremeCourtof Georgia or the Chief Judgeof

the Superior Court. The special purpose grandjury shall be authorizedto investigateany and all

facts a~d circumstancesrelating directlyor indirectlyto allegedviolationsof the laws of the

State of Georgia, as set forth in the request of the DistrictAttorneyreferenced herein above.

        Pursuant to O.C.G.A. § 15-12-101(a), the HonorableRobert C. I. McBumey is hereby

assigned to supervise and assist the specialpurposegrandjury, and shall charge said special

purpose grandjury and receive its reports as providedby law.
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       This authorization shall include the investigation of any overt acts o{·
                                                                              predicate acts

relating to the subject of the special purpose grand jury's investigative purp~se. The special
                                                                                   I
purpose grand jury, when making its presentments and reports, pursuant to O.C.G.A. §§ 15-12-
                                                    ,                              I
71 a11d15-12-101, may make recommendations concerning criminal prosedttion as it shall see
                                                                                   !

fit. Furthermore, the provisions of 0.C.G.A. § 15-12-83 shall apply.

       This Court also notes that U1eappointment of a special purpose grand jury will permit the
                                                                                   \

time, efforts, and attention of the regular grandjury(ies) impaneled in this Circuit to continue to

be devoted to the consideration of the backlog of ciiminal matters that has accumulated as a

result 'of the COVID-19 Pandemic.

      ' IT IS FURTHER OJ.~'-'-"-'-'.J.jD
                                     that this Order shall be filed in the Office of the Clerk of
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the Superior Court of Fulto Count71.~~
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                               CHRISTOPB:ERS. BRASHER';'BHIEF ffiDGE
                               Superior Court of Fulton County
                               Atlanta Judicial Circuit
Case 1:23-cv-03721-SCJ Document 1-124 Filed 08/21/23 Page 11 of 13




                     Exhibit B
                Case 1:23-cv-03721-SCJ Document 1-124 Filed 08/21/23 Page 12 of 13
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                                  OFFICEOF THE FULTONCOUNTYDISTRICTATTORNEY
                                            ATIANTAJUDICLA.L
                                                          C[RCUIT                         1
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                                                            30303                     TELEPHONE404-612-4639
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DistrictAttorney
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        The Honorable Christopher S. Brasher
        Chief Judge, Fulton County Superior Court                                         FILED IN OFFICE
        Fulton County Courthouse                                                                                        JJ
        185 Central Avenue SW, Suite T-8905
        Atlanta, Georgia 30303                                                       ID~
                                                                                     f \              FULTONCOUNTY,GA

            January 20, 2022

            Dear Chief Judge Brasher:
                                                                                                  '
        I hope this letter finds you well and in good spirits. Please be advised that the District Attomey's
        Officehas received information indicating a reasonable probability that the State of Georgia's
        administration of elections in 2020, including the State's election of the President of the United
        States, :wassubject to possible criminal disruptions. Our office has also learned that individuals
        associated with these disruptions have contacted other agencies empowered to investigate this
        matter, including the Georgia Secretary of State, the Georgia Attorney General, and the United
        States Attorney's Office for the Northern District of Georgia,leaving this office as the sole
        agency with jurisdiction that is not a potential witness to conduct related to the matter. As a
        result, duroffice has opened an investigation into any coordinated attempts to unlawfully alter
        the outcome of the 2020 elections in this state.
                         ,,
            We have made efforts to interview multiple witnesses and gather evidence, and a significant
            number of witnesses and prospective witnesses have refused to cooperate with the investigation
            absent a subpoena requiring their testimony. By way of example, Georgia Secretary of State
            Brad Raffensperger, an essential witness to the investigation,has indicated that he will not
            participate in an interview or otherwise offer evidence until he is presented with a subpoena by
            my office. Please see Exhibit A, attached to this letter.

            Therefore, I am hereby requesting, as the elected District Attorney for Fulton County, pursuant
            to O.C.G.A. § 15-12-100 et. seq., that a special purpose grandjury be impan~led for the purpose
            of investigating the facts and circumstances relating directly or indirectly to possible attempts to
            disrupt the lawful administration of the 2020 elections in the State of Georgit Specifically, a
            special purpose grand jury, which will not have the authority to return an indictment but may
            make recommendations concerning criminal prosecution as it shall see fit, is heeded for three
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            reasons: first, a special purpose grand jury can be impaneled by the Court for any time period
                                                                                                      •




            required in order to accomplish its investigation, which will likely exceed a normal grandjury
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                                                                             \
     term;second, the special purposegrand jury would be empoweredto revrewthis matter and this
     matter only, with an investigatory focusappropriate to the complexityof the facts and
     circumstances involved; and third, the sitting grandjury would not be reqhired to attempt to
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     address this matter in addition to their normal duties.                  \
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    Additionally, I am requesting that, pursuant to O.C.G.A. § iS-12-101, a Fi,ilton County Superior
    Court Judge be assigned to assist and supervise the special purpose grand jury in carrying out its
    investigation and duties.

     I have attached a proposed order impaneling the special purpose grand jury for the consideration
     of the Court.
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      espectfuli~,          f

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'-mstrict    Attorney, Atlanta Judicial Circuit

     ExhibitA: Transcriptof October 31)2021episodeof Jvfeetthe Presson NBC News at 26:04
     (videoarchived at https://vvww.youtube.com/watch?v=B71cBRPgt9k)
     ExhibitB: ProposedOrder

     cc:
     The Honorable KiinberlyM. Esmond Adams
     The Honorable Jane C. Barwick
     The HonorableRachelle Camesdale
     TheHonorableThomas A. Cox, Jr.
     The Honorable Eric Dunaway
     TheHonorableCharles M. Eaton, Jr.
    The Honorable Belinda E. Edwards
    The Honorable Kelly Lee Ellerbe
    TheHonorable Kevin M. Farmer
    The HonorableUral Glanville
    The Honorable Shakura L. Ingram
    TheHonorableRachel R. Krause
    TheHonorable Melynee Leftridge
    TheHonorableRobert C.I. IvlcBurney
    The HonorableHenry M. Newkirk
    The Honorable Emily K. Richardson
    The Honorable Craig L. Schwall, Sr.
    The HonorablePaige Reese Whitaker
    The HonorableShermelaJ. 'Williams
    Fulton County Clerk of Superior Court Cathelene ,:Tina" Robinson
